     Case 8:13-cv-01048-JLS-JPR Document 30 Filed 06/30/14 Page 1 of 3 Page ID #:165



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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
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12     UNITED STATES OF AMERICA                      Case No.: SACV 13-01048-JLS(JPRx)
13

14                 Plaintiff,                        CONSENT JUDGMENT
15           v.
16     PENDENT CORPORATION dba Bob Judge: Josephine L. Staton
17     Peter Fire Protection, RYAN PARISE
18     an   individual,     and   DOES   1-10,
19     Inclusive
20                 Defendants.
21

22          Plaintiff UNITED STATES OF AMERICA, having filed its Complaint
23    herein and Defendants        PENDENT CORPORATION dba Bob Peter Fire
24    Protection, RYAN PARISE an individual, through their respective attorneys of
25    record have consented to the making and entry of this Consent Judgment as follow:
26          The principal amount of $60,000.00 plus fees and costs per the Financial
27    Management Service and Department of Justice of $20,657.08 (pursuant to 31
28    U.S.C. 3717(e) and 3711(g)(6), and 28 U.S.C. 52)


                                                 1
     Case 8:13-cv-01048-JLS-JPR Document 30 Filed 06/30/14 Page 2 of 3 Page ID #:166



1           i.     Defendants will make payments to plaintiff as follows:
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                   $1,000.00 DOWN PAYMENT DUE ON OR BEFORE
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                   July 28, 2014, followed by monthly payments in the
4                  amount of $250.00, beginning August 20, 2014, and at
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                   the same time thereafter until settlement of $10,000.00 is
                   paid in full.
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7           ii.   Payments are to be made payable to the U.S. Department of Justice
8     and forwarded to U.S. Department of Justice, Central Intake Facility, P.O. Box
      790363, St. Louis, MO 63179-0363, and shall include the file number:
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      2012A29027 & 2013A61280 on the face of the checks.
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11          iii. In the event of a default, the payment of $250.00 per month may be
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      reevaluated and may be modified to take into account the changed economic
      circumstances of defendants. Notwithstanding the foregoing, such re-evaluation
13    and modification may take place, at most, once, on an annual basis.
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            iv.    In the event of a default, for purposes of evaluation and possible
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      modification, defendants will provide plaintiff with a copy of their Federal Income
16    Tax returns, (including all attachments) or other evidence of total annual income,
      and a completed Financial Statement provided by plaintiff, along with copies of
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      defendants’ last two earning statements.
18

19          v.    Under no circumstances, will the monthly payment be lower than
      $250.00 per month.
20

21           vi.   Should defendants become thirty (30) days or more delinquent in
      making any payment in accordance with this Consent Judgment, plaintiff will
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      enforce this Consent Judgment in accordance with the Federal Rules of Civil
23    Procedure and file a supplemental Bill of Costs requesting attorneys’ fees and
24
      costs.

25           vii.   In the event of a default, Liens will be recorded with the applicable
26    County Recorder wherein defendants reside or own real property and defendants
      shall bear the cost of this transaction.
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28
             viii. When the amount of settlement is liquidated, plaintiff shall prepare
      and file with the Clerk of the Court a Satisfaction of Judgment and provide
                                                2
     Case 8:13-cv-01048-JLS-JPR Document 30 Filed 06/30/14 Page 3 of 3 Page ID #:167



1     defendants with a Release of Lien Under Abstract of Judgment for defendants to
2     record with the applicable County Recorder.
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            ix.    This Consent Judgment will acrrue interest at the legal rate from the
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      date of entry until paid in full.
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8                                                  SO ORDERED:
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      Dated: June 30, 2014

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11                                                 Honorable Josephine L. Staton
12                                                 United States District Judge
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